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                         IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                FT. LAUDERDALE DIVISION

 MELISSA GRAHAM,                                          CASE NO.: 0:17-cv-60789

          Plaintiff,

 vs.

 BLUESTEM BRANDS, INC.
 d/b/a FINGERHUT,                                         DEMAND FOR JURY TRIAL

        Defendant.
 __________________________________/

                                             COMPLAINT

         COMES NOW, Plaintiff, MELISSA GRAHAM (hereafter “Plaintiff”), by and through

 undersigned counsel, and hereby sues Defendant, BLUESTEM BRANDS, INC. d/b/a

 FINGERHUT, (hereafter “Defendant”), and states as follows:

                                   PRELIMINARY STATEMENT

         This action arises out of Defendant’s violations of the Florida Consumer Collection

 Practices Act, Florida Statute §§ 559.55 et seq. (hereafter the "FCCPA"), and the Telephone

 Consumer Protection Act, 47 U.S.C. §§ 227 et seq. (hereafter the “TCPA”).

                                   JURISDICTION AND VENUE

         1.      Jurisdiction and venue for purposes of this action are appropriate and conferred by

 28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves violations of the TCPA

 and/or by F.S. § 47.011 and/or by 28 U.S.C § 1332, diversity jurisdiction.

         2.      Subject matter jurisdiction, federal question jurisdiction, for purposes of this action,

 is appropriate and conferred by 28 U.S.C. § 1331, which provides that the district courts shall have

 original jurisdiction of all civil actions arising under the Constitution, laws, or treaties of the United

 States; this action involves violations of 47 U.S.C. § 227(b)(1)(A)(iii).
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         3.      Pursuant to 28 U.S.C. § 1391(b), venue is proper in this District because the

 Plaintiff resides in this District, the phone calls were received in this District, and Defendant

 transacts business in this District.

                                    FACTUAL ALLEGATIONS

         4.      Plaintiff is an individual residing in Broward County, Florida.

         5.      Plaintiff is a consumer as defined by the FCCPA, Fla. Stat. § 559.55(2).

         6.      Defendant is a foreign profit corporation with its corporate headquarters located in

 Delaware.

         7.      Defendant is a “Creditor,” as defined by the FCCPA, Fla. Stat. § 559.55(5) and

 does business throughout the state of Florida, including Broward County, Florida.

         8.      Defendant is a “person” subject to regulations under Fla. Stat. § 559.72 and 47

 U.S.C. § 227(b)(1).

         9.      The conduct of Defendant, which gives rise to the cause of action herein alleged,

 occurred in this District, Broward County, Florida, by the Defendant’s placing of telephone calls

 to Plaintiff’s cellular telephone in an attempt to collect a debt.

         10.     Defendant, at all material times, was attempting to collect a debt relating to a

 Fingerhut Account.

         11.     The alleged debt that is the subject matter of this complaint is a “consumer debt”

 as defined by the FCCPA, Fla. Stat. §559.55(6).

         12.     In December 2013, Plaintiff received a phone call from Defendant to collect a debt.

 During the telephone call, Plaintiff advised Defendant to stop calling her cellular telephone.
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        13.     Plaintiff revoked any prior express consent to contact Plaintiff via cell phone or any

 other form of communication in December, 2013 when Plaintiff verbally advised Defendant to

 stop calling her cellular telephone.

        14.     Plaintiff is the regular user and carrier of the cellular telephone number ending in -

 4903 and was the called party and recipient of Defendant’s automatic telephone dialing system

 and/or artificial or prerecorded voice.

        15.     Defendant knowingly and/or willfully called Plaintiff’s cellular telephone after

 Defendant had unequivocal notice from Plaintiff to cease any and all calls and after Plaintiff

 withdrew any prior consent or permission to be contacted in December, 2013.

        16.     Defendant knowingly and/or willfully harassed and abused Plaintiff by calling

 Plaintiff’s cellular telephone up to six (6) times per day after Defendant had unequivocal notice

 from Plaintiff to cease any and all calls.

        17.     Defendant used an automatic telephone dialing system or an artificial or pre-

 recorded voice to place telephone calls to Plaintiff’s cellular telephone.

        18.     Defendant used an automatic telephone dialing system or an artificial or pre-

 recorded voice to place telephone calls to Plaintiff’s cellular telephone.

        19.     The following phone numbers, including, but not limited to, 800-503-2463, 877-

 503-6145, and 844-786-6552, are phone numbers Defendant used to call Plaintiff’s cellular

 telephone.

        20.     Defendant placed calls to Plaintiff's cellular telephone that included delays in time

 before the telephone call was transferred to a representative to speak.
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         21.    Plaintiff did not speak with a representative during some of the phone calls placed

 by Defendant because there was no representative on the telephone call that spoke or attempted to

 communicate with Plaintiff after Plaintiff answered the telephone call.

         22.    Defendant left messages on Plaintiff's cellular telephone that started with a delay in

 time before the representative joined the line to leave a message.

         23.    Some of the voicemail messages received by Plaintiff on her cellular telephone

 from Defendant sounded like an artificial or pre-recorded voice requesting a return call from

 Plaintiff.

         24.    The calls from Defendant to Plaintiff’s cellular telephone continued despite

 Plaintiff expressly revoking her consent.

         25.    None of Defendant’s telephone calls placed to Plaintiff were for “emergency

 purposes” as specified in 47 U.S.C. § 227 (b)(1)(A).

         26.    None of Defendant’s telephone calls placed to Plaintiff were made with Plaintiff’s

 “prior express consent” as specified in 47 U.S.C. § 227 (b)(1)(A).

         27.    All conditions precedent to the filing of this lawsuit have been performed or have

 occurred.

                                    COUNT I
                   VIOLATION OF THE FCCPA, FLA. STAT. § 559.72(7)

         28.    Plaintiff incorporates all allegations in paragraphs 1-27 as if stated fully herein.

         29.    Jurisdiction is proper pursuant to Florida Statute § 559.77(1).

         30.    Defendant violated Florida Statute § 559.72(7) when it willfully communicated

 with Plaintiff with such frequency as can reasonably be expected to abuse or harass Plaintiff.

         31.    Specifically, Defendant continued to make numerous telephone calls to Plaintiff’s

 cellular telephone after being notified to no longer call Plaintiff through any means.
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        WHEREFORE, Plaintiff, MELISSA GRAHAM, demands judgment against Defendant,

 BLUESTEM BRANDS, INC. d/b/a FINGERHUT, for the following relief:

                a.       any actual damages sustained by Plaintiff as a result of the above

 allegations;

                b.       statutory damages pursuant to Florida Statute § 559.77(2) in the amount of

 $1,000.00;

                c.       pursuant to §559.77(2), any specific or injunctive relief necessary to make

 Plaintiff whole;

                d.       in the case of a successful action sustaining the liability of Defendant,

 pursuant to the FCCPA, Fla. Stat. § 559.77(2), costs of the action, together with reasonable

 attorney’s fees incurred by Plaintiff; and

                e.       any other relief the Court deems just and proper.

                                      COUNT II
                     VIOLATION OF THE TCPA, 47 U.S.C. § 227(b)(1)(A)(iii)

        32.     Plaintiff incorporates all allegations in paragraphs 1-27 as if stated fully herein.

        33.     Jurisdiction is proper pursuant to 47 U.S.C. § 227(b)(3).

        34.     Defendant used an automatic telephone dialing system or an artificial or

 prerecorded voice as defined by 47 U.S.C. § 227(a)(1)(A)(iii) to make telephone calls to Plaintiff’s

 cellular telephone.

        35.     Defendant independently violated 47 U.S.C. § 227(b)(1)(A)(iii) for each call that

 Defendant placed to Plaintiff’s cellular telephone using an automatic telephone dialing system or

 an artificial or prerecorded voice.

        36.     The phone calls made by Defendant are considered willing and knowing violations

 of the TCPA, as Defendant is well aware of the TCPA and its prohibitions.
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        WHEREFORE, Plaintiff, MELISSA GRAHAM, demands judgment against Defendant,

 BLUESTEM BRANDS, INC. d/b/a FINGERHUT, for the following relief:

                a.     statutory damages pursuant to 47 U.S.C. § 227(b)(3)(B) in the amount of

 $500.00 for each of the independent violations occurring after Plaintiff’s revocation;

                b.     an increase in the amount of the award to an amount equal to three times

 the amount available pursuant to 47 U.S.C. § 227(b)(3)(B) where each of Defendant’s independent

 violations were made willfully or knowingly; and

                c.     any other relief the Court deems just and proper.

                                  DEMAND FOR JURY TRIAL

         Plaintiff demands a trial by jury as to all issues.



 Date: 04/21/2017                              BOSS LAW


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